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 8                             UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
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      BACKGRID USA, INC., a California             No. 2:21-cv-08874-JAK-KS
11    corporation,
                                                   ORDER RE STIPULATED REQUEST
12                Plaintiff,                       TO MODIFY BRIEFING SCHEDULE
                                                   (DKT. 37)
13    v.
14
      AUDACY, INC., a Pennsylvania
15    corporation; and DOES 1-10, inclusive,
16                Defendant.
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 1         Based on a review of the Stipulated Request to Modify Briefing Schedule (the
 2   “Stipulation” (Dkt. 37)), sufficient good cause has been shown for the requested relief.
 3   Therefore, the Stipulation is APPROVED IN PART, with additional time provided as
 4   follows:
 5         Plaintiff’s Supplemental Brief following the completion of jurisdictional discovery
 6   shall be filed at any time on or before December 30, 2022, and Defendant may file a
 7   reply at any time on or before January 9, 2023. The December 9, 2022 deadline to
 8   complete jurisdictional discovery and all requirements set forth in the Court’s Order
 9   remain unchanged.
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11         IT IS SO ORDERED.
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13   Dated: ________________
            November 29, 2022           ________________________
14                                      John A. Kronstadt
15                                      United States District Judge
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